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UNITED STATES DISTRICT COURT

DISTRICT OF ALASKA

UNITE HERE NATIONAL RETIREMENT No. 3:06-cv-00239-RRB
FUND, LONDON PENSIONS FUND
AUTHORITY and JEFFREY PICKETT,
Derivatively on Behalf of BP P.L.C., BP
AMERICA, INC., BP OIL CO. INC. and BP

EXPLORATION (ALASKA) INC.,

STIPULATION OF REMAND AND
[PRO2SSED] ORDER THEREON

Plaintiffs,

vs.

MADINGLEY, et al.,
Defendants,
— and —
BP P.L.C., et al.,

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THE LORD JOHN BROWNE OF
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Nominal Defendants. _)
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WHEREAS this shareholder derivative action was commenced on October 2, 2006, in the
Superior Court for the State of Alaska, Third Judicial District at Anchorage (“Alaska State Court”);

WHEREAS on October 24, 2006, nominal party BP America Inc. (later joined by all
defendants and all other nominal parties) removed this action to federal court pursuant to 28 U.S.C.
§§1332 and 1441(b) based on diversity of citizenship between the plaintiffs and defendants;

WHEREAS on November 22, 2006, plaintiffs moved to remand this action to the Alaska
State Court; and

WHEREAS the parties agree that there is no diversity of citizenship and that the Court
therefore lacks subject matter jurisdiction over this matter;

THE PARTIES, through their respective counsel, hereby stipulate as follows and seek the
Court’s approval that:

1. This action be remanded forthwith from the United States District Court of Alaska to
the Alaska State Court;

2. That plaintiffs take nothing on their request for costs and expenses pursuant to 28
U.S.C. §1447(c); and

3. That a copy of this Stipulation of Remand and [Proposed] Order Thereon be filed in
the Office of the Clerk of the Alaska State Court

IT IS SO STIPULATED.
DATED: December 11,2006 FELDMAN ORLANSKY & SANDERS

JEFFREY M. FELDMAN
Alaska Bar No. 7605029

HS//
JEFFREY M. FELDMAN

 

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DATED: December 11, 2006

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Floris A. Maljers; Robert A. Malone; Neil R.
McCleary; Thomas F.W. McKillop; John A.
Manzoni; Stephen Marshall; Walter E. Massey;
H. Michael P. Miles; Robin B. Nicholson;
Richard L. Olver; Chris J. Phillips; Ross J.
Pillari; Daniel B. Pinkert; Debra A. Plumb;
Stanley P. Presley; Ian M.G. Prosser; Ian
Springett; Peter D. Sutherland; and Michael H.
Wilson; and nominal defendants BP p.1.c.; BP
America Inc.; and BP Exploration (Alaska) Inc.

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Attorneys for defendant Richard C. Woollam

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DATED: December 11, 2006

IT IS SO ORDERED.
DATED: (>/i/Ob

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* *

ORDER

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THE HONORABLE RALPH R. BEISTLINE
UNITED STATES DISTRICT JUDGE

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